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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA, et al.,

                               Plaintiffs,            Case No. 1:20-cv-03010-APM

 v.                                                   HON. AMIT P. MEHTA
 GOOGLE LLC,

                               Defendant.


              DOJ PLAINTIFFS’ OPPOSITION TO GOOGLE’S MOTION TO
            PRECLUDE REBUTTAL TESTIMONY OF MICHAEL A. M. DAVIES

       DOJ Plaintiffs oppose Google’s motion to preclude the rebuttal testimony of Michael

Davies—a motion that Google waited until the eve of rebuttal to file, nearly seven weeks after

learning that DOJ Plaintiffs may call Mr. Davies as a rebuttal witness. See ECF No. 754 (Def.

Mot.). As demonstrated below, Google’s motion runs counter to the facts and finds no support in

case law.

       DOJ Plaintiffs may call Mr. Davies, an expert in the smartphone industry, to refute the

possible testimony of Professor Kevin Murphy, one of Google’s expert witnesses. To that end,

Mr. Davies’ opinions are highly relevant, as evidenced by the fact that he and Prof. Murphy cite

each other’s reports. Furthermore, Google cites no case law for its novel proposition that DOJ

Plaintiffs are prohibited from offering Mr. Davies in rebuttal because we initially listed him as an

affirmative expert. In any event, because Google has known since September 17, 2023, that DOJ

Plaintiffs might call Mr. Davies in our rebuttal case, the Court should reject Google’s motion

arguing that his testimony was required to occur during DOJ Plaintiffs’ case-in-chief.
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I.     Mr. Davies’ Rebuttal Testimony Is Relevant

       Mr. Davies’ anticipated rebuttal testimony is relevant to the issues in this case and will

aid the Court in adjudicating Plaintiffs’ monopoly maintenance claim. DOJ Plaintiffs retained

Mr. Davies to opine on how commercial realities within the smartphone industry compel

companies—particularly original equipment manufacturers, or OEMs—to enter into mobile

application distribution agreements (MADAs) and other search distribution agreements, such as

revenue share agreements (RSAs), with Google.

       To that end, Mr. Davies’ core opinions relate to the MADAs and the RSAs. See, e.g.,

Davies Initial Report at ¶ 12 (June 6, 2022) (summarizing conclusions). For example, Mr.

Davies’ initial expert report described the evolution of the Android Ecosystem, explained how

commercial realities in the industry provide smartphone vendors with little choice but to accept

Google’s terms for app distribution so that the OEMs can access Google’s proprietary

applications and services, and further explained that these vendors must accept Google’s terms to

access payments from Google. See id. at ¶¶ 32–38, 53–62, 77–87. Further, Mr. Davies’ reply

report opined on why Prof. Murphy’s analysis of the MADA is flawed and demonstrated why

Prof. Murphy’s discussion of existing differentiation in Android fails to show that Google’s

contracts are not restrictive. See Davies Reply Report at ¶¶ 34–49, 52–55 (Sept. 26, 2022). For

example, Mr. Davies explained:

              Prof. Murphy purports to respond to my conclusions in his rebuttal
               report, but his analysis includes both errors and misleading
               characterizations [as he] ignores the practical reality that
               smartphone vendors have no viable alternative to Google’s
               proprietary apps and APls and consequently, their weak bargaining
               position during MADA contract negotiations.

              Prof. Murphy claims that the MADA reflects “an ‘exchange’ or a
               ‘barter’” in which Google simply provides a license for its
               proprietary Android OS, apps, and APls in exchange for the


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               preinstallation and prominent placement of Google apps. But in
               doing so Prof. Murphy fails to acknowledge Google’s negotiating
               leverage when partnering with smartphone vendors.

              Prof. Murphy also asserts that there can be no element of coercion
               in the MADA because smartphone vendors also entered into MADA
               agreements at Android’s inception, ‘when Android clearly lacked
               any purported market power ... and its success was far from certain.’
               As he notes, however, the market dynamics were very different in
               2008.

Id. ¶¶ 35–36, 38. Accordingly, Mr. Davies’ opinions are relevant and should be considered if the

DOJ Plaintiffs call him during rebuttal.

       Google argues that Mr. Davies’ testimony is no longer relevant following the Court’s

decision on summary judgment. See Def. Mot. at 6–7 (contending that the “irrelevance of Mr.

Davies’ opinions has only become more pronounced” given the Court’s ruling on the ACCs and

AFAs). But this is a red herring: DOJ Plaintiffs long ago informed Google that we do not intend

to call Mr. Davies to speak to these issues. See Email from Karl Herrmann (attached as Ex. 1) at

1 (Aug. 16, 2023) (“Plaintiffs provide notice of their intent to withdraw opinion 5 from the

expert report of Michael Davies.”). If Prof. Murphy raises any of the points addressed in Mr.

Davies’ report, then Mr. Davies’ response will, of course, be relevant. Thus, the Court should

reject Google’s claim that Mr. Davies’ analysis is not relevant.

II.    Mr. Davies’ Rebuttal Testimony Will Respond To Expert Testimony

       In a related argument, Google contends that Mr. Davies’ anticipated rebuttal testimony

should be barred because it will only respond to fact witnesses. Def. Mot. at 4–5. In support of

this argument, Google references the September 17, 2023 email from DOJ Plaintiffs to the Court

noting that Mr. Davies intends to “respond[] to fact witnesses on OEM and carrier options.” Def.

Mot. at 1–2 (citing ECF No. 754-1 (Def. Mot. Ex. 1) at 2–3). Unfortunately, this email was

incomplete, as Google understood given that Mr. Davies’ reply report directly addresses Prof.



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Murphy’s opinions. Indeed, Prof. Murphy and Mr. Davies each reference the other numerous

times in their respective reply and rebuttal reports, showing the extensive connection between

their opinions. See Murphy Rebuttal Report (Aug. 5, 2022) (referencing Mr. Davies 133 times);

see also Davies Reply Report (referencing Prof. Murphy 160 times).

       Accordingly, the Court should reject Google’s efforts to prevent the DOJ Plaintiffs from

fully addressing Prof. Murphy’s contemplated testimony.

III.   Mr. Davies Is A Proper Rebuttal Witness

       The Court should also reject Google’s assertion that Mr. Davies is not a proper rebuttal

witness as unsupported and untimely. See Def. Mot. at 3–4. Google takes issue with the fact that

DOJ Plaintiffs may call Mr. Davies in our rebuttal case, arguing that his testimony “was the

precise topic of his affirmative opinions in this case.” Id. at 3 (emphasis removed). Thus, Google

posits, Mr. Davies’ opinions should have been offered in Plaintiffs’ case-in-chief. Id. As an

initial matter, even if DOJ Plaintiffs did as Google proposes and called Mr. Davies in our case-

in-chief, we nonetheless might still need to call him in rebuttal—similar to our approach with

Prof. Michael Whinston—to respond to any testimony that Prof. Murphy provides.

       Notably, however, Google cites no case law holding that an expert witness who was

initially designated as an affirmative witness is barred from providing rebuttal testimony.

Instead, Google relies on Settling Devotional Claimants v. Copyright Royalty Bd., 797 F.3d

1106, 1108 (D.C. Cir. 2015), to argue that DOJ Plaintiffs “should not be permitted to re-label

affirmative opinions as ‘rebuttal.’” Def. Mot. at 2. But Settling does not address whether a party

may shift an expert from its case-in-chief to rebuttal. Settling merely addressed the contents of

“written direct statements” in proceedings before Royalty Judges. 797 F.3d at 1111. Other cases




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that Google cites are readily distinguishable.1 Indeed, binding case law in the D.C. Circuit makes

clear that “a district court has ‘broad discretion in determining whether to admit or exclude

expert testimony’ and no per se rule exists that new expert testimony is inappropriate rebuttal

testimony.” Little v. Wash. Metro. Area Transit Auth., 249 F. Supp. 3d 394, 416 (D.D.C. 2017)

(citing United States v. Gatling, 96 F.3d 1511, 1523 (D.C. Cir. 1996)). Because Mr. Davies’

testimony would go “directly to refuting” Dr. Murphy’s opinions, raised for the first time at the

end of Google’s defensive case, Mr. Davies’ testimony would be proper. See United States v.

Philip Morris USA, Inc., 2022 U.S. Dist. LEXIS 68522, *31–32 (D.D.C. Apr. 13, 2022) (holding

that the expert’s analysis “squarely ‘contradict[s] or rebut[s] evidence’ discussed by Dr. [Kevin]

Murphy and therefore qualif[ies] as proper rebuttal testimony.”) (quoting Fed. R. Civ. P.

26(a)(2)(D)(ii)).

        Furthermore, Google’s own delay (and resulting prejudice to DOJ Plaintiffs) cuts against

granting Defendant’s motion. On September 17, 2023—at the beginning of trial and well before

the close of our case-in-chief—DOJ Plaintiffs notified the Court and Google that we no longer

intended to call Mr. Davies in our case-in-chief but reserved the right to call him as a rebuttal

witness if needed. See Def. Mot. Ex. 1, at 2–3. Notably, Google did not lodge an objection at that



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    See Def. Mot. at 3–4 (citing Upshur v. Shepherd, 538 F. Supp. 1176, 1179–80) (E.D.Pa.
    1982), aff’d, 707 F.2d 1396 (3d Cir. 1983) (the excluded expert rebuttal testimony was not
    offered to rebut the testimony of another expert and was, among other things, cumulative of
    plaintiff’s testimony on direct); Braun v. Lorillard Inc., 84 F.3d 230, 236–37 (7th Cir. 1996)
    (plaintiff’s lawyers delayed in locating the expert and “first announced their intention to call
    the witness ten days before the trial,” which resulted in the district court denying their request
    to call him during plaintiff’s affirmative case; the district court also denied their subsequent
    request to call the expert in rebuttal); Faigin v. Kelly, 184 F.3d 67, 85–86 (1st Cir. 1999)
    (district court did not abuse its discretion in denying rebuttal when plaintiff knew that the
    quality of investments would be “hotly contested” in the case and failed to offer an expert to
    opine on investment losses in its case-in-chief; as a result, “nothing new or unanticipated
    surfaced during the defense case that even arguably changed the topography of the
    battlefield.”)).

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time. If Google believed that DOJ Plaintiffs were required to call Mr. Davies as an affirmative

expert witness, Google should (and could) have raised its challenge then, which would have

provided the parties with an opportunity to raise the issue when DOJ Plaintiffs still had an

opportunity to call Mr. Davies in our case-in-chief. The Court should not allow Google to benefit

from its strategic decision to sit on its motion until DOJ Plaintiffs completed our case-in-chief

and a mere days before we are scheduled to begin rebuttal. Indeed, such a result would prejudice

DOJ Plaintiffs.

                                         CONCLUSION

       For the above reasons, the Court should deny Google’s motion to preclude Mr. Davies

from testifying in DOJ Plaintiffs’ rebuttal case.



Dated: November 6, 2023                                 Respectfully submitted,

                                                        /s/ Kenneth M. Dintzer
                                                        Kenneth M. Dintzer
                                                        /s/ Veronica N. Onyema
                                                        Veronica N. Onyema (D.C. Bar #979040)
                                                        Jeremy M. P. Goldstein
                                                        Sara T. Gray

                                                        U.S. Department of Justice
                                                        Antitrust Division
                                                        Technology & Digital Platforms Section
                                                        450 Fifth Street NW, Suite 7100
                                                        Washington, DC 20530
                                                        Telephone: (202) 227-1967
                                                        Kenneth.Dintzer2@usdoj.gov

                                                        Counsel for Plaintiff
                                                        United States of America




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                                   By:    /s/ Margaret Sharp
                                   James Lloyd, Chief, Antitrust Division
                                   Margaret Sharp, Assistant Attorney General
                                   Office of the Attorney General, State of Texas
                                   300 West 15th Street
                                   Austin, Texas 78701
                                   Margaret.Sharp@oag.texas.gov

                                   Counsel for Plaintiff State of Texas


                                   By:     /s/ Matthew Michaloski
                                   Theodore Edward Rokita, Attorney General
                                   Scott L. Barnhart, Chief Counsel and Director,
                                   Consumer Protection Division
                                   Matthew Michaloski, Deputy Attorney General
                                   Christi Foust, Deputy Attorney General
                                   Office of the Attorney General, State of Indiana
                                   Indiana Government Center South, Fifth Floor
                                   302 West Washington Street
                                   Indianapolis, Indiana 46204
                                   Matthew.Michaloski@atg.in.gov

                                   Counsel for Plaintiff State of Indiana


                                   By:     /s/ Keaton Barnes
                                   Keaton Barnes
                                   Arkansas Bar No. 2022161
                                   Assistant Attorney General
                                   Office of Tim Griffin, Attorney General
                                   323 Center Street, Suite 200
                                   Little Rock, AR 72201
                                   Keaton.Barnes@ArkansasAG.gov

                                   Counsel for Plaintiff State of Arkansas




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Case 1:20-cv-03010-APM Document 758 Filed 11/06/23 Page 8 of 12




                                   By:    /s/ Brian Wang
                                   Rob Bonta, Attorney General
                                   Paula Blizzard, Senior Assistant Attorney
                                   General
                                   Brian Wang, Deputy Attorney General
                                   Carolyn Jeffries, Deputy Attorney General

                                   Office of the Attorney General,
                                   California Department of Justice
                                   455 Golden Gate Avenue, Suite 11000
                                   San Francisco, California 94102
                                   Brian.Wang@doj.ca.gov

                                   Counsel for Plaintiff State of California


                                   By:     /s/ Lee Istrail
                                   Ashley Moody, Attorney General
                                   R. Scott Palmer, Special Counsel, Complex
                                   Enforcement Chief, Antitrust Division
                                   Nicholas D. Niemiec, Assistant Attorney General
                                   Lee Istrail, Assistant Attorney General
                                   Office of the Attorney General, State of Florida
                                   PL-01 The Capitol
                                   Tallahassee, Florida 32399
                                   Lee.Istrail@myfloridalegal.com
                                   Scott.Palmer@myfloridalegal.com

                                   Counsel for Plaintiff State of Florida


                                   By:    /s/ Daniel Walsh
                                   Christopher Carr, Attorney General
                                   Margaret Eckrote, Deputy Attorney General
                                   Daniel Walsh, Senior Assistant Attorney General
                                   Charles Thimmesch, Assistant Attorney General
                                   Office of the Attorney General, State of Georgia
                                   40 Capitol Square, SW
                                   Atlanta, Georgia 30334-1300
                                   cthimmesch@law.georgia.gov

                                   Counsel for Plaintiff State of Georgia




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Case 1:20-cv-03010-APM Document 758 Filed 11/06/23 Page 9 of 12




                                   By:     /s/ Philip R. Heleringer
                                   Daniel Cameron, Attorney General
                                   J. Christian Lewis, Commissioner of the Office of
                                   Consumer Protection
                                   Philip R. Heleringer, Executive Director of the
                                   Office of Consumer Protection
                                   Jonathan E. Farmer, Deputy Executive Director
                                   of the Office of Consumer Protection
                                   Office of the Attorney General, Commonwealth
                                   of Kentucky
                                   1024 Capital Center Drive, Suite 200
                                   Frankfort, Kentucky 40601
                                   Philip.Heleringer@ky.gov

                                   Counsel for Plaintiff Commonwealth of Kentucky


                                   By:    /s/ Christopher J. Alderman
                                   Jeff Landry, Attorney General
                                   Christopher J. Alderman, Assistant Attorney
                                   General
                                   Office of the Attorney General, State of
                                   Louisiana
                                   Public Protection Division
                                   1885 North Third St.
                                   Baton Rouge, Louisiana 70802
                                   AldermanC@ag.louisiana.gov

                                   Counsel for Plaintiff State of Louisiana


                                   By:    /s/ Scott Mertens
                                   Dana Nessel, Attorney General
                                   Scott Mertens, Assistant Attorney General
                                   Michigan Department of Attorney General
                                   P.O. Box 30736
                                   Lansing, Michigan 48909
                                   MertensS@michigan.gov

                                   Counsel for Plaintiff State of Michigan




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Case 1:20-cv-03010-APM Document 758 Filed 11/06/23 Page 10 of 12




                                    By:    /s/ Stephen M. Hoeplinger
                                    Stephen M. Hoeplinger
                                    Assistant Attorney General
                                    Missouri Attorney General’s Office
                                    815 Olive St., Suite 200
                                    St. Louis, Missouri 63101
                                    Stephen.Hoeplinger@ago.mo.gov

                                    Counsel for Plaintiff State of Missouri


                                    By:    /s/ Hart Martin
                                    Lynn Fitch, Attorney General
                                    Hart Martin, Special Assistant Attorney General
                                    Crystal Utley Secoy, Assistant Attorney General
                                    Office of the Attorney General, State of
                                    Mississippi
                                    P.O. Box 220
                                    Jackson, Mississippi 39205
                                    Hart.Martin@ago.ms.gov

                                    Counsel for Plaintiff State of Mississippi


                                    By: /s/ Anna Schneider
                                    Anna Schneider
                                    Bureau Chief
                                    Montana Office of Consumer Protection
                                    P.O. Box 200151
                                    Helena, MT. 59602-0150
                                    Phone: (406) 444-4500
                                    Fax: 406-442-1894
                                    Anna.schneider@mt.gov

                                    Counsel for Plaintiff State of Montana




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                                    By:    /s/ Mary Frances Jowers
                                    Alan Wilson, Attorney General
                                    W. Jeffrey Young, Chief Deputy Attorney
                                    General
                                    C. Havird Jones, Jr., Senior Assistant Deputy
                                    Attorney General
                                    Mary Frances Jowers, Assistant Deputy Attorney
                                    General
                                    Rebecca M. Hartner, Assistant Attorney General
                                    Office of the Attorney General, State of South
                                    Carolina
                                    1000 Assembly Street
                                    Rembert C. Dennis Building
                                    P.O. Box 11549
                                    Columbia, South Carolina 29211-1549
                                    mfjowers@scag.gov

                                    Counsel for Plaintiff State of South Carolina


                                    By:    /s/ Gwendolyn J. Lindsay Cooley
                                    Joshua L. Kaul, Attorney General
                                    Gwendolyn J. Lindsay Cooley, Assistant
                                    Attorney General
                                    Wisconsin Department of Justice
                                    17 W. Main St.
                                    Madison, Wisconsin 53701
                                    Gwendolyn.Cooley@Wisconsin.gov

                                    Counsel for Plaintiff State of Wisconsin




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                                   CERTIFICATE OF SERVICE

       I hereby certify that on November 6, 2023, I caused the foregoing document to be filed

with the Clerk of Court using the Court’s Electronic Document Filing System, which served

copies on all counsel of record.

                                            /s/ Veronica N. Onyema
                                            Veronica N. Onyema

                                            Counsel for Plaintiff United States of America
